









Affirmed and Opinion filed December 18, 2003









Affirmed and Opinion filed December 18, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00603-CR

____________

&nbsp;

ANTHONY DEWAYNE LANE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
179th District Court

Harris County, Texas

Trial Court Cause No.
915,747

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a plea of guilty to the offense of
aggravated robbery.&nbsp; On May 9, 2003, the
trial court sentenced appellant to twenty-five years= confinement in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a notice of appeal.








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), by
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of his right to examine
the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed December 18, 2003.

Panel consists of Justices
Edelman, Frost, and Guzman.

Do Not Publish C Tex. R.
App. P. 47.2(b).





